     Case 3:08-cr-00017-LRH-RAM                Document 138    Filed 05/04/12      Page 1 of 3




 1

 2

 3

 4

 5

 6                                     UNITED STATES DISTRICT COURT

 7                                           DISTRICT OF NEVADA

 8                                                     ***
                                                       )
 9   UNITED STATES OF AMERICA                          )
                                                       )
10                        Plaintiff,                   )      3:08-cr-0017-LRH-RAM
                                                       )
11   v.                                                )
                                                       )      ORDER
12   GERARDO CRUZ-CASTRO,                              )
                                                       )
13                        Defendant.                   )
                                                       )
14

15          Before the court is defendant Gerardo Cruz-Castro’s (“Cruz-Castro”) motion to vacate, set

16   aside, or correct his sentence pursuant to 28 U.S.C. § 2255. Doc. #132.1 Also before the court are

17   Cruz-Castro’s motions for appointment of counsel. Doc. ##131, 133.

18   I.     Facts and Procedural History

19          On March 26, 2008, Cruz-Castro was indicted on two charges: (1) possession with intent to

20   distribute 126 grams of heroin in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(B)(i); and

21   (2) possession with intent to distribute 236 grams of cocaine base in violation of 21 U.S.C.

22   §§ 841(b)(1) and (b)(1)(B)(ii). Doc. #20. Cruz-Castro proceeded to trial and was convicted on both

23   counts. Doc. #84. He was subsequently sentenced to one hundred twenty (120) months

24   incarceration, the statutory minimum for the cocaine base offense. Doc. #104. Cruz-Castro

25

26          1
                Refers to the court’s docket number.
     Case 3:08-cr-00017-LRH-RAM             Document 138        Filed 05/04/12      Page 2 of 3




 1   appealed his sentence and the Ninth Circuit affirmed both his conviction and sentence. Doc. #123.

 2   Cruz-Castro then petitioned the United States Supreme Court for a writ of certiorari, but was

 3   denied. Doc. #130. Thereafter, Cruz-Castro filed the present motion to vacate, set aside, or correct

 4   his sentence pursuant to 28 U.S.C. § 2255. Doc. #132.

 5   II.    Motion to Vacate Sentence

 6          Pursuant to 28 U.S.C. §2255, a prisoner may move the court to vacate, set aside, or correct a

 7   sentence if “the sentence was imposed in violation of the Constitution or laws of the United States,

 8   or that the court was without jurisdiction to impose such sentence, or that the sentence was in

 9   excess of the maximum authorized by law, or is otherwise subject to collateral attack.”

10   28 U.S.C. § 2255; 2 Randy Hertz & James S. Liebman, Federal Habeas Corpus Practice and

11   Procedure § 41.3b (5th ed. 2005).

12          In his motion to vacate, Cruz-Castro argues that the court should grant his motion to vacate

13   because (1) the underlying traffic stop was unconstitutional and (2) he was entitled to both a minor

14   role adjustment and a safety-valve adjustment to his sentence. See Doc. #132. These same

15   arguments were raised by Cruz-Castro on direct appeal and rejected by the Ninth Circuit. See Doc.

16   #123 (rejecting Cruz-Castro’s challenge to the constitutionality of the traffic stop, and affirming the

17   court’s denial of acceptance of responsibility, minor role, and safety value adjustments to his

18   sentence).

19          “Section 2255 may not be invoked to relitigate questions which were or should have been

20   raised on direct appeal from the judgment of conviction. Hammond v. United States, 408 F.2d 481,

21   483 (9th Cir. 1969) (internal citations omitted). Because Cruz-Castro raised these issues on direct

22   appeal, he is barred from raising them on collateral review. United States v. Davis, 417 U.S. 333,

23   342 (1974). Therefore, the court finds that Cruz-Castro is barred from re-litigating the issues he

24   raised on direct and appeal and shall deny his motion to vacate accordingly.

25   ///

26
                                                        2
     Case 3:08-cr-00017-LRH-RAM             Document 138        Filed 05/04/12      Page 3 of 3




 1   III.     Motions for Appointment of Counsel

 2            An indigent petitioner seeking relief under 28 U.S.C. § 2255 may move the court for

 3   appointment of representation to pursue that relief. 18 U.S.C. § 3006(A)(2)(B). The court has

 4   discretion to appoint counsel when the interest of justice so require. 18 U.S.C. § 3006(A)(2). The

 5   interest of justice so require where the complexities of the case are such that denial of counsel

 6   would amount to a denial of due process. See Brown v. United States, 623 F.2d 54, 61 (9th Cir.

 7   1980).

 8            Here, the court has reviewed the documents and pleadings on file in this matter and finds

 9   that the appointment of counsel is not warranted. The issues raised in Cruz-Castro’s underlying

10   § 2255 motion are not complex, rather they are the same issues raised on appeal and are therefore

11   barred from collateral review. Further, Cruz-Castro has made no showing as to why his § 2255

12   motion, or the underlying case, are so complex that denial of counsel would amount to a denial of

13   due process. Therefore, the court finds that Cruz-Castro is not entitled to counsel and shall deny his

14   motions accordingly.

15

16            IT IS THEREFORE ORDERED that defendant’s motion to vacate or correct sentence

17   pursuant to 28 U.S.C. § 2255 (Doc. #132) is DENIED.

18            IT IS FURTHER ORDERED that defendant’s motions for appointment of counsel

19   (Doc. ##131, 133) are DENIED.

20            IT IS SO ORDERED.

21            DATED this 4th day of May, 2012.

22

23                                                     __________________________________
                                                       LARRY R. HICKS
24                                                     UNITED STATES DISTRICT JUDGE

25

26
                                                       3
